UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

COURTNEY LINDE, et al.
Case No. CV 04 2799 (NG)(VVP) and all
related cases”
Plaintiffs,
-against-

ARAB BANK, PLC,

Defendant.

DECLARATION OF JOHN M. EUBANKS IN SUPPORT OF PLAINTIFFS’ REPLY
MEMORANDUM OF LAW IN FURTHER SUPPORT OF THEIR
MOTION TO EXCLUDE THE EXPERT TESTIMONY OF ROBERT LACEY

I, John M. Eubanks, declare as follows:

I have been an attorney at the law firm of Motley Rice LLC since 2004. My firm and I
represent the Plaintiffs in certain of the related cases, and I submit this declaration on behalf of
all Plaintiffs in support of Plaintiffs’ Reply Memorandum of Law in Further Support of Their
Motion to Exclude the Expert Testimony of Robert Lacey. Submitted with this declaration are
true and correct copies of the following documents, which are cited in Plaintiffs’ Reply
Memorandum of Law in Further Support of Plaintiffs’ Motion to Exclude the Expert Testimony
of Robert Lacey:

EXHIBIT A. Excerpts of May 8, 2007 Deposition Testimony of Mohammad Al-Tahan.

EXHIBIT B. Excerpts of November 20, 2009 Deposition Testimony of Mazen Abu
Hamdan.

* Litle, et al. v. Arab Bank, PLC, No. CV-04-5449 (E.D.N.Y. 2004) (NG)(VVP); Alimog v. Arab Bank, PLC, No.
CV-04-5564 (E.D.N.Y. 2004) (NG)(VVP); Coulter, et al. v. Arab Bank, PLC, No. CV-05-365 (E.D.N.Y. 2005)
(NG)(VVP); Afriat-Kurtzer v. Arab Bank, PLC, No. CV-05-388 (E.D.N.Y. 2005) (NG)(VVP), Bennett, et al. v.
Arab Bank, PLC, No. CV-05-3183 (E.D.N.Y. 2005) (NG)(VVP); Roth, et al. v. Arab Bank, PLC, No. CV-05-3738
(E.D.N.Y. 2005) (NG\(VVP); Weiss, et al. v. Arab Bank, PLC, No. CV-06-1623 (E.D.N.Y. 2006) (NG)(VVP);
Jesner, et al. v. Arab Bank, PLC, No. CV-06-3869 (E.D.N.Y. 2006) (NG)(VVP); Lev, ef al. v Arab Bank, PLC, No.
CV-08-3251 (E.D.N.Y. 2008) (NG)(VVP); and Agurenko v. Arab Bank, PLC, No. CV-10-626 (E.D.N.Y. 2010)
(NG)(VVP).
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EXHIBIT C. Excerpts of November 13, 2010 and November 15, 2010 Deposition
Testimony of Shukri Bishara.

I declare under penalty of perjury under the laws of the United States that the foregoing is
true and correct and that this Declatation was executed on July 16, 2012 at Mount Pleasant,

South Carolina.

. Eubanks
